          Case 1:21-cr-00036-CJN Document 85 Filed 02/16/24 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
v.                                   :   No.: 21-cr-036 (CJN)
                                     :
GINA BISIGNANO                       :
                   Defendant.        :
____________________________________:

                             STATUS REPORT REGARDING
                            PROPOSED PRETRIAL SCHEDULE

       The United States of America hereby submits the following status report regarding a

pretrial schedule in this matter. Pursuant to the Court’s instructions at the February 1, 2024 status

conference, the parties have communicated regarding a mutually agreeable pretrial schedule.

The parties have reached agreement on a number of pretrial deadlines, but the parties have been

unable to reach agreement on several deadlines:

     1. The United States’ deadline to notice Rule 404(b) evidence. The United States proposes

         June 14, 2024.   The defendant proposes April 1, 2024.

     2. The United States’ deadline to disclose Brady and Giglio material not already disclosed.

         The United States proposes June 28, 2024. The defendant proposes April 1, 2024.

     3. The United States’ deadline to disclose grand jury and Jencks Act material not already

         disclosed. The United States proposes June 28, 2024. The defendant proposes April

         1, 2024.

     4. The parties’ deadlines for motions.

            a. Motions To Dismiss and Suppress.           The United States proposes motions to

                dismiss and motions to suppress evidence be due on March 29, 2024.              The
          Case 1:21-cr-00036-CJN Document 85 Filed 02/16/24 Page 2 of 2




                defendant proposes May 3, 2024.

             b. Motions in Limine.       The United States proposes motions all other pretrial

                motions, including motions in limine, be due on June 7, 2024.         The defendant

                proposes May 3, 2024.

             c. Motions Regarding Fischer v. United States, 23-5572.              The United States

                proposes that any motion to dismiss premised on Fischer be due within two weeks

                of the Supreme Court’s ruling.     The defendant proposes three weeks.

       In light of the continuance of trial from April 8, 2024 to August 5, 2024, the United States’

proposed schedule generally incorporates this Court’s prior Pretrial Scheduling Order in this case,

ECF No. 72, shifting all dates approximately four months later. The United States’ proposed

pretrial schedule is attached as Exhibit A.   The defendant’s proposed pretrial schedule is attached

as Exhibit B, with changes from the United States’ proposal highlighted.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               D.C. Bar No. 481052

                                       By:       /s/ Anthony W. Mariano
                                               ANTHONY W. MARIANO
                                               MA Bar No. 688559
                                               Trial Attorney, Detailee
                                               KIMBERLY L. PASCHALL
                                               D.C. Bar No. 1015665
                                               Assistant United States Attorney
                                               Capitol Siege Section
                                               601 D Street, N.W.,
                                               Washington, D.C. 20530
                                               (202) 476-0319
                                               Anthony.Mariano2@usdoj.gov
                                               (202) 252-2650
                                               Kimberly.Paschall@usdoj.gov
